           Case 2:20-cv-00015-BMM Document 45 Filed 01/11/21 Page 1 of 1


            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MONTANA
                       BUTTE DIVISION
 STATE FARM MUTUAL               Cause No. CV-20-15-BU-BMM
 AUTOMOBILE INSURANCE
 COMPANY,

                 Plaintiff,                  ORDER RESETTING HEARING ON
                                             SUMMARY JUDGMENT MOTIONS
          v.

 TRIPLE L, INC.,

                 Defendant.

 TRIPLE L, INC.,

                 Counterclaimant,

          v.

 STATE FARM MUTUAL
 AUTOMOBILE INSURANCE
 COMPANY,

          Counterclaim Defendant.

          Based on Plaintiff State Farm Mutual Automobile Insurance Company’s

Unopposed Motion to Reschedule the Hearing on Summary Judgment Motions

(Doc.44) and for good cause appearing;

          IT IS ORDERED, that the hearing set for January 25, 2021 at 11:00 a.m. is

RESET for Tuesday, February 17, 2020 at 1:30 p.m.

          DATED this 11th day of January, 2021.




3100777                                                                               1
